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                                  Curriculum Vitae 5-19-2021

                                         Douglas Ullrich
                                      1 Police Memorial Dr.
                                      Covington, KY 41014
                                          859-292-2258




 Education:
 Currently pursuing a Bachelor in Psychology: University of Louisville, Louisville, KY, 2019-
 present

 Master of Science, Criminal Justice: University of Cincinnati, Cincinnati, OH, 2016.
 Concentration in Law Enforcement and Crime Prevention

 Bachelor of Science, Criminal Justice: Xavier University, Cincinnati, OH, 2008. Double minor
 in Criminalistics and Gender & Diversity Studies. Graduated on the Dean’s List

 Certifications:
 Advanced Law Enforcement Officer, KLEC, September, 2018

 Intermediate Law Enforcement Officer, KLEC, June, 2017

 Drug Recognition Expert – Class Valedictorian, International Association of Chiefs of
 Police/National Highway Traffic Safety Administration, September, 2016

 Advanced Roadside Impaired Driving Enforcement Officer, Department of Criminal Justice
 Training, October, 2015

 Law Enforcement Basic Training – Class 430, Department of Criminal Justice Training,
 September 2011 - February 2012

 Basic Police Academy Training – Class President, Ohio Peace Officer Training Academy, Great
 Oaks Police Academy, November, 2010




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 Current and Past Positions:
 Police Officer for the Covington Police Department, Third Shift Patrol, September 2011 –
 Present, assigned as the Traffic Accident Prevention (TAP) Specialist since February 2014

 Adjunct Professor of Criminal Justice at Brown Mackie College, September 2016 –August 2017

 Police Officer for the City of Valdez, AK, June 2009 - October 2009

 Professional Activities:
 Completed 572 DUI arrests

 Been a part of over 2,500 DUI investigations

 Conducted a total of 25 drug evaluations

 Trained 37 new officers in Traffic Enforcement and DUI Investigations as part of their Field
 Training

 Took part in a Custom Training Exercise with the United States Army Special Forces 5th Group
 in 2019 and 2020

 Took part in a DRE Task Force event in Los Angeles hosted by the Los Angeles Police
 Department and the California Highway Patrol in September, 2016

 Attended the 61st Annual Fraternal Order of Police National Biennial Conference and Expo as a
 delegate representing Covington FOP Lodge #1, Cincinnati, OH, 2013

 Professional Affiliations:
 Brown Mackie College Criminal Justice Program Advisory Committee 2016 - 2017
 Northern Kentucky Police Crisis Intervention Team Steering Committee 2016 - 2017
 Covington Fraternal Order of Police – Scholarship Committee Chairman 2014 - present

 Law Enforcement Education:
 The following courses were taken through Kentucky’s Department of Criminal Justice Training
 unless otherwise noted.

 Total: 2,135.6 hours of documented training
    1. The Cannabis Impairment Detection Workshop – Green Labs, National Sheriff’s
         Association, online, May, 2021, 1.5 hours



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    2. The Implications of Field Sobriety Test Evidence in Drug Impaired Driving Cases,
        National Association of Prosecutor Coordinaors – online, May, 2021, 1.5 hours
    3. Three Day Criminal and Terrorist Interdiction Workshop, Desert Snow, October, 2020,
        24 hours
    4. Lessons Learned: Crash Investigation Involving DUI Cannabis, Oklahoma District
        Attorneys Council, September, 2020, 2 hours
    5. Medical Conditions That Mimic Alcohol or Drug Impairment, Oklahoma District
        Attorneys Council, August, 2020, 1.5 hours
    6. Jury Selection for the Marijuana Impaired Driving Case, Oklahoma District Attorneys
        Council, August, 2020, 1.5 hours
    7. The Eyes Have It: Horizontal Gaze Nystagmus in the Impaired Driving Case, Oklahoma
        District Attorneys Council, August, 2020, 2 hours
    8. High In Plain Sight: Current and Evolving Drug Trends, Oklahoma District Attorneys
        Council, August, 2020, 1.5 hours
    9. Field Training Officer, Butler Tech, September, 2019, 24 hours
    10. Certified LIDAR Operator, Covington Police Department, March, 2019, 8 hours
    11. ID Law Enforcement Training Guide, DOCJT, Online, March, 2019, .5 hours
    12. Ignition Interlock Course for Law Enforcement, National Highway Traffic Safety
        Administration, Online, August, 2018, 2 hours
    13. Pursuit Policy, International Association of Directors of Law Enforcement Standards and
        Training, Online, August, 2018, 1 hour
    14. Legalizing Marijuana in Colorado: The Good, The Bad & The Ugly, National Sheriff’s
        Association, Online, May, 2018, 1.5 hours
    15. Legal Update: Constitutional Procedure, March, 2018, 16 hours
    16. Breath Test Operator, March, 2018, 24 hours
    17. From Crime Scene to the Courtroom – Telling the Story to the Jury, National Children’s
        Advocacy Center, Online, November, 2017, 1 hour
    18. Drug Endangered Children, National Children’s Advocacy Center, Online, November,
        2017, 1 hour
    19. Treating Victims of DUI/Impaired Driving Crashes as Crime Victims, National Sheriff’s
        Association, Online, October, 2017, 1 hour
    20. Protest on the Prairie: Law Enforcement Response and Lessons Learned, National
        Sheriff’s Association, Online, May, 2017, 1.5 hour
    21. Drugs and Young People, e-learning WMB, Online, April, 2017, .3 hours
    22. Prosecuting the Drugged Driver, Office of the Attorney General, Covington, KY, April,
        2017, 20 hours
    23. Advanced Negotiations Training, Ohio SERB, Columbus, OH, April, 2017, 8 hours
    24. Prescription Drug Crimes, ROCIC, Nashville, TN, March, 2017, 6 hours
    25. Illicit Drug Investigations, February, 2017, 40 hours
    26. Emotional Survival For Law Enforcement, Dr. Gilmartin, Covington Police Department,
        January, 2017, 8 hours
    27. Ethical Issues and Decisions in Law Enforcement, St. Petersburg College – online,
        December, 2016, 16 hours
    28. Surveillance Operations Overview, St. Petersburg College – online, December, 2016, 16
        hours




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    29. Traffic Incident Management, Kentucky Transportation Cabinet, Highland Heights, KY,
        November, 2016, 4 hours
    30. Clandestine Laboratory Investigations, St. Petersburg College – online, November, 2016,
        16 hours
    31. Highway-Rural Drug Investigation, St. Petersburg College – online, November, 2016, 16
        hours
    32. Patrol Drug Investigation 1, St. Petersburg College – online, November, 2016, 16 hours
    33. The Abuse of E-Cigs, the Impact On Criminal Justice, National Institute of Justice –
        webinar, October, 2016, 1.3 hours
    34. Computer Based In-Service Training Program for the Alco-Sensor FST, Intoximeters -
        web based training, October, 2016, 1 hour
    35. Learning From Armstrong: Preparing Officers for Interaction with Persons with Mental
        Illness, Lexipol – webinar, October, 2016, 1 hour
    36. Priority of Life: A Model for Improving Officer Safety and Reducing Risk, Lexipol –
        webinar, October, 2016, 1.5 hours
    37. Drug Recognition Expert 7-Day School, September, 2016, 56 hours
    38. Vehicle Tactics Shooting Course, Tactical Intelligence Group, Hamilton Township, OH,
        August, 2016, 4 hours
    39. Below 100, Covington Police Department, August, 2016, 8 hours
    40. Drug Recognition Expert Pre-School, July, 2016, 16 hours
    41. Current Issues for Patrol Officers, June, 2016, 40 hours
    42. Mandatory Training – online, December, 2015, 6 hours
    43. Response to Special Needs Persons, October, 2015, 40 hours
    44. Advanced Roadside Impaired Driving Enforcement Officer, October, 2015, 16 hours
    45. PTSD Awareness and De-Escalation Tactics, Cincinnati Police Department, May, 2015,
        8 hours
    46. Breath Test Operator Recertification – online, March, 2015, 4 hours
    47. Rapid Deployment, October, 2014, 40 hours
    48. Basic Defensive Driving Skills Course, Kentucky League of Cities, Independence, KY,
        August, 2014, 8 hours
    49. Legal Issues: 2014 – online, June, 2014, 8 hours
    50. Breath Test Operator Recertification – online, February, 2014, 4 hours
    51. Mandatory Training – online, December, 2013, 7.5 hours
    52. Crisis Intervention Team Training, November, 2013, 40 hours
    53. Conducting Complete Traffic Stops, MAGLOCLEN & the Northeast Counterdrug
        Training Center, Cincinnati, OH, October, 2013, 16 hours
    54. Identifying & Combating Outlaw Motorcycle Gangs, MAGLOCLEN, Centerville, OH,
        August, 2013, 8 hours
    55. Breath Test Operator Recertification – online, January, 2013, 4 hours
    56. MDT Recertification – online, November, 2012, 2 hours
    57. Breath Test Operator Recertification – 8000, February, 2012, 4 hours
    58. Breath Test Operator – Basic, November, 2011
    59. Mobile Data Terminal Access – online, October, 2011
    60. Law Enforcement Basic Training, September 2011-February 2012, 768 hours
    61. Basic Mediation, Ohio Department of Job and Family Services – Ohio Child Welfare
        Training Program, January, 2011, 18 hours



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    62. Gang Specialist, Butler Tech Law Enforcement Institute, Cincinnati, OH, February, 2011,
        16 hours
    63. Defensive Knife Skills, Butler Tech Law Enforcement Institute, Cincinnati, OH, January,
        2011, 8 hours
    64. Biker Gangs “101”, Butler Tech Law Enforcement Institute, Cincinnati, OH, January,
        2011, 8 hours
    65. Glock Armorer’s Course, Glock Professional, Winchester, KY, December, 2010, 8 hours
    66. Investigating Animal Abuse for Law Enforcement, ASPCA – online, December, 2010, 3
        hours
    67. Combating Dogfighting, ASPCA – online, December, 2010, 1.5 hours
    68. Officer Safety – Dog Bite Prevention, ASPCA – online, December, 2010, 1 hour
    69. Ka-Bar TDI Defensive Knife Training, Tactical Defense Institute, West Union, OH,
        November, 2010, 4 hours
    70. Basic Police Academy Training – Class President, Ohio Peace Officer Training
        Academy, Great Oaks Police Academy, November, 2010, 582 hours
    71. Alcohol Detection, Apprehension and Prosecution (ADAP/SFST), Great Oaks Police
        Academy, October, 2010, 32 hours (within the OPOTA Basic Police Academy Training)
    72. Calibre Press: Street Survival Seminar, Kenai, AK, September, 2009, 16 hours
    73. Advanced Course on The Reid Technique of Interviewing and Interrogation, Cincinnati
        Police Department, May, 2007, 8 hours
    74. The Reid Technique of Interviewing and Interrogation, Cincinnati Police Department,
        May, 2007, 24 hours

 Awards/Honors:
 Governor’s Award for Impaired Driving Enforcement, 2015, 2016 (Division Five Winner), 2017
 (Division Five Winner), 2018 (Division Five Winner), 2019 (Division Five “All Star”), and 2020
 Governor’s Award for Occupant Protection Enforcement, 2013

 Community Service:
 Volunteer coach of the Miami University Mock Trial Team, Oxford, OH, 2018 – present
        - Work with undergraduate students in court room skills, rules of evidence, case
            interpretation and presentation.
 Volunteer for the Covington Independent School District, Covington, KY, 2015 – 2017
        - Participate in a program in which uniformed police officers come in to read to young
            students to provide positive police interactions.
 Volunteer for the Cincinnati Chapter of the American Red Cross, 1997 – 2017
        - Participated in numerous programs acting in various roles, to cover several thousand
            hours of service. Most service hours surrounding the Leadership Development
            Center program.

 Personal:
 Avid motorcycle enthusiast, completing the Motorcycle Safety Foundation’s Basic Rider Course,
 Basic Rider Course – 2, and Advanced Rider Course


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